Case 1:25-cv-Pahd2 4 O°292 HS 3 {Filed Oy708/e5 /| Page 1 of 1

Jun 26, 2024 at 4:13PM

i'm sorry | had to ghost you. everything
got crazy all at once and i kinda had a
breakdown. you screaming at me bc
ben canceled the check. we broke up.
moms tumors/cancer got bigger. my
grandpa passed away. just a lot at
once and | didn't know how to handle
everything and i just shut down. | hope
you are doing good. not sure where
you are right now.

Jun 26, 2024 at 6:51PM

BARKET LAWYERS
ATTORNEYS AT LAW
CONCORDE BUILDING
7" FLOOR
66 WEST FLAGLER STREET
MIAMI, FLORIDA 33130

TIMOTHY kK. BARKET TELEPHONE (305) 373-6711
JAMES J. SOPER FACSIMILE (305) 373-4770
JOSE BR. GOMES

DYLAN G. BARKET

June 21, 2024

Sent via USPS Certified Mail
7018 3090 0002 0366 7156
Angie Clements

983 Prospector Road
Hackleburg, AL, 35564

RE: EMILY LAMBERT

Dear Ms. Angie Clements,

We have been retained by Ms. Emily Lambert to initiate a civil case against you. From our
investigation, Emily Lambert and you jointly owned 985 Prospector Road, each holding a fifty
(50) percent interest. As you are aware, the property suffered significant damage due to a fire,
resulting in an insurance claim. The insurance company has made a payment as a result of this
claim. Given the joint ownership of the property, my client is entitled to her fair share of these
proceeds, which amounts to half of the insurance payment amount. From our understanding, the
parties entered into a Contract for a payment to be made in the amount of $64,300.00. You provided
a check for said amount, which you promptly issued a stop payment order on.

AL Code § 6-5-285 (2023) states that: “The holder of a worthless check, draft, or order for the
payment of money shall have a right of action against the person who unlawfully made, uttered,
or delivered the same to him or to his endorser; and such action may be maintained though there
has been no prosecution, conviction, or acquittal of the defendant for his unlawful act... . The
plaintiff in such action may recover such damages, both punitive and compensatory, including a
reasonable attorney fee, as the jury or court trying the case may assess.” Negotiating a worthless
negotiable instrument is a Class A misdemeanor in Alabama.

Utilizing the mail system, to commit a fraud, also constitutes a federal felony. “There are two
elements in mail fraud: (1) having devised or intending to devise a scheme to defraud (or to
perform specified fraudulent acts), and (2) use of the mail for the purpose of executing, or
attempting to execute, the scheme (or specified fraudulent acts)." Schmuck v. United States, 489
U.S. 705, 721 n. 10 (1989); see also Pereira v. United States, 347 U.S. 1, 8 (1954) ("The elements
of the offense of mail fraud under... § 1341 are (1) a scheme to defraud. and (2) the mailing of
